               Case 22-10584-CTG   Doc 725-1   Filed 12/21/22   Page 1 of 2




                                EXHIBIT A
        Customary and Comparable Compensation Disclosures with Fee Applications




DOCS_DE:241756.1 28311/001
                                                    Case 22-10584-CTG          Doc 725-1        Filed 12/21/22     Page 2 of 2
                                                                                    EXHIBIT A
                                         CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS

                                                (See Guidelines C.3. for definitions of terms used in this Exhibit.)


                                                                                                                      BLENDED HOURLY RATE
                                         CATEGORY OF TIMEKEEPER
                       (using categories already maintained by the firm)                            BILLED OR COLLECTED                              BILLED

                                                                                             Firm or offices for preceding year,            In this fee application
                                                                                                    excluding bankruptcy*

                             Sr./Equity Partner/Shareholder                                                $1,050.00                                   $1,286.20

                             Of Counsel                                                                     $950.00                                    $1,155.97

                             Associate (4-6 years since first admission)                                   $750.00                                     $ 675.00

                             Law Library Director                                                          $450.00                                     $ 495.00

                             Paralegal                                                                     $450.00                                     $ 493.74

                             Case Management Assistants                                                    $300.00                                     $ 395.00

                             All timekeepers aggregated                                                     $950.00**                                  $1,120.43

 * Represents approximate blended hourly rate. Non-estate work for PSZ&J represents a de minimis amount of the Firm’s revenues as the Firm’s engagements are primarily on
 behalf of debtors, official committees, and other estate-billed constituencies. For fiscal year ending 2020, non-estate work represented approximately 5-7% of the Firm’s
 revenues, and in 2021, non-estate work represented approximately 6-8% of the Firm’s revenues. It is expected that non-estate work in 2022 will represent approximately 8-10%
 of the Firms’ revenues

 **Represents an estimate for the aggregate blended hourly rate for all timekeepers on non-estate work.




Case Name:              First Guaranty Mortgage Corporation
Case Number:            22-10584 (CTG)
Applicant's Name:       Pachulski Stang Ziehl & Jones LLP
Date of Application:    12/21/2022
Interim or Final        Final



DOCS_DE:241756.1 28311/001
